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                UNITED STATES COURT OF INTERNATIONAL TRADE


 ECHJAY FORGINGS PVT. LTD,

                        Plaintiff,                          Court No. 22-00172

         v.

 UNITED STATES OF AMERICA,

                        Defendant,

         v.

 COALITION OF AMERICAN FLANGE
 PRODUCERS,


                        Defendant-Intervenor.


                 COALITION OF AMERICAN FLANGE PRODUCERS’
               MOTION TO WITHDRAW AS DEFENDANT-INTERVENOR

       The Coalition of American Flange Producers (“Coalition”) hereby moves to withdraw from

the above-captioned proceeding as Defendant-Intervenor. The Coalition no longer has an interest

in the current appeal. Therefore, the Coalition respectfully requests that the Court grant this motion

and permit the Coalition to withdraw as Defendant-Intervenor in this action.



                                                   Respectfully submitted,

                                                   /s/ Daniel B. Pickard
                                                   Daniel B. Pickard
                                                   Buchanan Ingersoll & Rooney PC
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                                                   Counsel for the Coalition of American Flange
                                                   Producers
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                     Plaintiff,                       Court No. 22-00172

       v.

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                     Defendant,

       v.

 COALITION OF AMERICAN FLANGE
 PRODUCERS,


                     Defendant-Intervenor.


                                         ORDER

      Upon consideration of the Coalition of American Flange Producers’ (“Coalition”) Motion

to Withdraw, it is hereby ORDERED that the motion is GRANTED, and the Coalition’s position

as Defendant-Intervenor is TERMINATED.




                                                BY THE COURT:



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